 

Case 2:19-cv-17282-JMV-JAD Document 6 Filed 10/28/19 Page 1 of 1 PagelD: 40

120 Vassar Avenue, Apt. #3

 

Newark, NJ 07112

October 25, 2019

Newark Clerk’s Office

Martin Luther King, Jr. Federal Building
& U.S. Courthouse

50 Walnut Street

Newark, NJ 07101

Dear Judge Michael Vasquez,

{am writing this communication to formally withdraw both complaints filed previously by me regarding
Case Numbers 2:19-cv-18602-JMV-SCM Taylor v. Stevenson et al and 2:19-cv-17282-JMV-JAD Taylor v.
Zuckerberg et al.

   

Bras Dobane, Writer of “The Aten” (2011, 2019)

 

 
